J. J. CARROLL, PETITIONER, ET AL., 1v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  Carroll v. CommissionerDocket Nos. 47669, 51880-51892.United States Board of Tax Appeals27 B.T.A. 65; 1932 BTA LEXIS 1133; November 15, 1932, Promulgated *1133  1.  PARTNERSHIP - GIFT - DEPLETION. - Where one member of a partnership owning timber lands makes a gift of a part of his interest in the partnership to his children and thereupon a new partnership is formed, with the children taken in as partners, the new partnership having the same assets as the old, no new basis arises for the allowance for depletion of timber, but it remains as before.  Henry Wilson,16 B.T.A. 1280"&gt;16 B.T.A. 1280, followed.  2.  TIMBER - CAPITAL ASSET - CAPITAL GAINS. - Where a partnership engaged in the manufacture and sale of lumber at wholesale was the owner of extensive tracts of standing timber and sold a part of the timber to another company under an agreement that the purchaser cut and pay for the same as cut, such timber, having been held by the taxpayer for more than two years prior to sale, was a capital asset and the gain thereon is capital gain under section 206(a) of the Revenue Act of 1921, and section 208(b) of the Revenue Acts of 1924 and 1926, and may be so taxed at the election of the taxpayer.  Moultrie Hitt, Esq., and G. Kibby Munson, Esq., for the petitioners, J. M. Leinenkugal, Esq., for the respondent.  BLACK*1134 *65  These 14 proceedings were consolidated for hearing.  Thirteen of the petitioners are individuals and are all residents of the State of *66  Texas, and the other is an estate having its situs in Texas.  Each of the petitioners has a beneficial interest in the assets and income of the partnership of W. T. Carter and Bro., which is engaged in the manufacture and sale of lumber, with its principal place of business at Camden, Texas.  The respondent determined deficiencies against the several petitioners for the years 1923, 1924, and 1925, as follows, to wit: 192319241925J. J. Carroll$501.18$684.07$424.05Mrs. Lena Carter Carroll501.16848.17408.09A. L. Carter495.67826.32375.97Mrs. A. L. Carter495.67621.30372.60Mrs. E. A. Carter393.79252.63179.63Mrs. Lillie N. Carter528.68610.41387.57W. T. Carter, Jr528.68809.34387.57Frank Haywood Nelms681.351,214.61Mrs. Frank Haywood Nelms822.661,207.77R. D. Randolph465.21637.36350.81Mrs. Frankie Carter Randolph465.21780.44350.81Mrs. Jessie Carter Taylor323.67791.91300.30Judson L. Taylor323.67641.51294.82Estate of Maude H. Carter2,660.36*1135  Deficiencies were determined for the years 1924 and 1925 against the estate of Maude H. Carter, but these have not been made the subject of an appeal.  FINDINGS OF FACT.  The facts were stipulated as follows: 1.  On September 15, 1919, W. T. Carter, joined by his wife, Maude Holley Carter, gave to W. T. Carter, Jr., and Aubrey L. Carter, each, an undivided one-eighth (1/8) of his interest in the partnership of W. T. Carter and Bro., of Camden, Texas, and to W. T. Carter, Jr., and Aubrey L. Carter as Trustees, holding for Mrs. Lena Carter Carroll, Mrs. Jessie Carter Taylor, Mrs. F. Haywood Nelms and Mrs. Frankie Carter Randolph, an undivided four-eighths (4/8s) of his said interest.  Mr. and Mrs. W. T. Carter retained two-eighths (2/8s) community interest in said partnership.  2.  On September 16, 1919, W. T. Carter, E. A. Carter, Jack Thomas, W. T. Carter, Jr., Aubrey L. Carter, and W. T. Carter, Jr., and Aubrey L. Carter, Trustees, formed a new partnership to be known as "W. T. Carter and Bro." thereby continuing uninterruptedly the business of the old partnership which had been conducted under the same name.  3.  The respective interest of the partners in the newly created*1136  partnership is as follows: Per centW. T. Carter (and wife)21.599E. A. Carter (and wife)11.516Jack Thomas2.088W. T. Carter, Jr10.7995Aubrey L. Carter10.7995W. T. Carter, Jr., and Aubrey L. Carter, Trustees holding for:Mrs. Lena Carter Carroll10.7995Mrs. Jessie Carter Taylor10.7995Mrs. Agnese Carter Nelms10.7995Mrs. Frankie Carter Randolph10.7995100.*67  4.  Mrs. Maude Holley Carter (now deceased) shared with her husband, W. T. Carter (also now deceased), a community one-half interest in the 21.599% partnership interest credited her husband; and Mrs. Martha D. Carter, wife of E. A. Carter (now deceased) shared in her husband's interest equally with him.  5.  Mrs. Lillie N. Carter, wife of W. T. Carter, Jr., Mrs. A. L. Carter, wife of Aubrey L. Carter, J. J. Carroll, husband of Lena Carter Carroll, Dr. Judson L. Taylor, husband of Jessie Carter Taylor, F. Haywood Nelms, husband of Agnese Carter Nelms, and R. D. Randolph, husband of Frankie Carter Randolph, each have a community interest in the profits of the partnership other than the gains from sale or other disposition of the partnership's capital assets.  6.  On*1137  September 15th, 1919, W. T. Carter, E. A. Carter and Jack Thomas, comprising the partnership of W. T. Carter and Bro., of Camden, Texas, owned, in addition to other property and assets, growing timber.  7.  By reason of conveyance executed by W. T. Carter and wife, Maude Holley Carter, on September 15, 1919, each of the undernoted parties became the owner of an undivided interest equal to 10.7995 per cent of the assets of the partnership of W. T. Carter and Bro., and collectively owned 64.797 per cent of such partnership assets, and therefore of the growing timber which was a gift from their parents, W. T. Carter and Maude Holley Carter, to-wit: Per centW. T. Carter, Jr., son10.7995Aubrey L. Carter, son10.7995W. T. Carter, Jr., and Aubrey L. Carter, Trustees forMrs. Lena Carter Carroll, daughter10.7995Mrs. Jessie Carter Taylor, daughter10.7995Mrs. Agnese Carter Nelms, Daughter10.7995Mrs. Frankie Carter Randolph, daughter10.799564.7978.  The fair market value of the undivided interest in the timber assets on September 15th, 1919, conveyed by W. T. Carter and wife as above stated was not less than $7.50 per thousand feet log scale*1138  for pine timber and was not less than $4 per thousand feet log scale for hardwood timber.  9.  The March 1, 1913, unit value of the undivided interest of W. T. Carter, E. A. Carter and Jack Thomas, in the timber assets of W. T. Carter and Bro., on September 15, 1919, the same having been acquired by them many years prior to March 1, 1913, is $4,937 per thousand for pine and $3.00 per thousand for hardwood.  10. (a) If the undivided interests of W. T. Carter, Jr., and Aubrey L. Carter as individuals, and W. T. Carter, Jr., and Aubrey L. Carter, as Trustees for Mrs. Lena Carter Carroll, Mrs. Jessie Carter Taylor, Mrs. Agnese Carter Nelms, and Mrs. Frankie Carter Randolph are entitled to be valued as of September 15, 1919, the date on which they acquired same by gift from their parents, then *68  the value of the timber for depletion purposes on that date owned by the partners shall be $6.598 per thousand for pine and $3.648 per thousand for hardwood.  (b) If W. T. Carter, Jr., and Aubrey L. Carter as individuals, and W. T. Carter, Jr., and Aubrey Carter, as Trustees for Mrs. Lena Carter Carroll, Mrs. Jessie Carter Taylor, Mrs. Agnese Carter Nelms, and Mrs. Frankie Carter*1139  Randolph are not entitled to this September 15, 1919, value for depletion purposes, then the value of the timber owned by the partners is $4.937 per thousand for pine and $3 per thousand for hardwood.  11. (a) In the year 1923 the firm cut 26,200,000 feet of pine and 7,170,000 feet of hardwood.  2,247,861 feet of pine were also cut by the Chester Lumber Company, under an agreement whereby said company was to pay the partnership of W. T. Carter and Bro. for said timber at the rate of $10 per thousand as cut by the Chester Lumber Company.  Minor sales amounted to 200,000 feet of pine.  (b) In the year 1924 the firm cut 28,423,843 feet of pine and 6,142,064 feet of hardwood.  The Chester Lumber Company cut 5,480,477 feet of pine, which it paid for at the rate of $10 per thousand in accordance with the agreement above referred to.  Minor sales amounted to 484,523 feet.  (c) In the year 1925 the firm cut 26,570,966 feet of pine and 8,385,785 feet of hardwood.  In addition the firm lost by drought 4,000,000 feet of pine.  The Chester Lumber Company also cut 3,899,000 feet of pine, which it paid for at the rate of $10 per thousand, in accordance with the agreement above referred to. *1140  12. (a) If depletion shall be computed in accordance with paragraph 10(a) above, then the depletion sustained in the respective years is as follows: 1923Pine$188,674.81Hardwood26,156.161924Pine226,278.59Hardwood22,406.251925Pine199,700.16Pine - loss26,216.00Hardwood30,591.34(b) If depletion shall be computed in accordance with paragraph 10(b) above, then the depletion sustained in the respective years is as follows: 923Pine$141,835.56Hardwood21,510.00Total163,345.561924Pine$170,362.35Hardwood18,428.89Total188,791.241925Pine$150,734.92Hardwood25,157.36Loss - pine19,788.00Total195,680.28*69  13.  W. T. Carter and Bro., a partnership, is and always has been, engaged in the manufacture and sale of lumber at wholesale.  The partnership agreement which was drawn up at the time the new partnership was formed on September 16, 1919 (referred to in paragraph 2 above), was attached to and made a part of the stipulation and is incorporated herein by reference.  OPINION.  BLACK: There are two issues in this proceeding and petitioners*1141  state them in their brief as follows: (1) Shall the petitioners, who were recipients of a gift on September 15, 1919, of an interest in the assets of the partnership of W. T. Carter and Bro., be denied a computation for depletion of the new partnership's timber which gives due consideration to the value of such timber on the day of the gift.  (2) Shall the petitioners each be denied the election to compute the tax on his or her share of partnership profits derived from the sale by a manufacturer of lumber (not a corporation) of timber which has been owned for more than two years, under the provisions of section 206(b), Act of 1921, and sections 208(b), Acts of 1924 and 1926.  It is contended by petitioners that there should be a revaluation of the timber assets of the new partnership as of the date of its organization, September 15, 1919, for depletion purposes in determining the distributive income of the respective partners.  The respondent contends that no new basis was created for depletion purposes by the organization of the new partnership and that it remained as before.  We agree with respondent in this contention.  *1142  In the case of , F. A. Wilson and Winfred T. Wilson had acquired by gift from their father on January 2, 1918, a 5/32 interest in a partnership known as Wilson Brothers &amp; Company, which on that date owned a large acreage of standing timber, together with logging railroads and equipment.  The Board held that the new partnership was not entitled thereby to a new basis of depletion of its timber.  To the same effect is the case of , where a father made a gift of a $250,000 interest in a woolen mill to his son.  It was contended that, so far as the son's interest was concerned, depreciation should be calculated upon the value of his interest in the depreciable assets of the partnership at the time of the gift.  But the Board held to the contrary and denied taxpayer's contention.  The Cameron case was before the Board again in , and was decided in the same way as in the former case.  *70  The latter case was affirmed in *1143 . These decisions are controlling here, and, under clause 10(b) of the stipulation of facts, the value of the timber for depletion purposes is $4.937 per thousand for pine and $3 per thousand for hardwood. The remaining question is the claim by petitioners of the right to elect to have the profits derived from the sale of certain quantities of standing timber cut during the taxable years computed on the basis of capital net gain on a sale of capital assets under section 206(b) of the Revenue Act of 1921, and section 208(b) of the Revenue Acts of 1924 and 1926.  Petitioners contend that growing timber owned by the partnership of W. T. Carter &amp; Bro. constituted capital assets, having been owned and held by the partnership for more than two years next prior to the years of sale, and come within the capital gain provisions of the applicable revenue act, while respondent claims that the timber sold was stock in trade, or was property held by W. T. Carter &amp; Bro. primarily for sale in the course of its trade or business and was therefore excluded from the benefits of the capital gain provisions of the law.  The 13th clause*1144  of the stipulation of facts provides as follows: "W. T. Carter and Bro., a partnership, is and always has been engaged in the manufacture and sale of lumber at wholesale." The deficiency for 1923 is governed by the Revenue Act of 1921 while those for 1924 and 1925 come within the provisions of the Revenue Acts of 1924 and 1926.  The difference in the acts was stated by the Board in , as follows: "Capital assets" are defined by the Revenue Act of 1921 as follows: SEC. 206. (a) That for the purpose of this title: * * * (6) The term "capital assets" as used in this section means property acquired and held by the taxpayer for profit or investment for more than two years (whether or not connected with his trade or business), but does not include property held for the personal use or consumption of the taxpayer or his family, or stock in trade of the taxpayer or other property of a kind which would properly be included in the inventory of the taxpayer if on hand at the close of the taxable year.  And by the Revenue Act of 1924 as follows: SEC. 208. (a) For the purposes of this title - * * * (8) The term "capital assets" *1145  means the property held by the taxpayer for more than two years (whether or not connected with his trade or business), but does not include stock in trade of the taxpayer or other property of a kind which would properly be included in the inventory of the taxpayer if on hand at the close of the taxable year, or property held by the taxpayer primarily for sale in the course of his trade or business.  *71  Under the 1921 Act property had to be "acquired and held by the taxpayer for investment or profit for more than two years (whether or not connected with his trade or business)," but under the 1924 Act the property merely had to be "held by the taxpayer for more than two years," without mention of whether it was held for investment or profit, before such property could be considered "capital assets." After having specifically provided that property held for two years would be considered capital assets, both acts expressly excluded property which would properly be included in a taxpayer's inventory if on hand at the close of the year.  In addition, the 1921 Act excluded property held for the personal use or consumption of taxpayer or his family, while the 1924 Act excluded*1146  "property held * * * primarily for sale in the course of his trade or business." Section 208(a)(8) of the Revenue Act of 1926 is substantially the same in its definition of capital assets as is section 208(a)(8) of the Revenue Act of 1924.  Property excluded by all three acts from capital assets includes "stock in trade of the taxpayer or other property of a kind which would properly be included in the inventory of the taxpayer if on hand at the close of the taxable year." Under the laws of Texas, where the owner of standing timber enters into a contract to sell it and the vendee agrees to cut, remove and pay for it as removed within a specified time, the title to the timber remains in the vendor until the timber is cut, removed and paid for.  , affirmed on this point in . It results that until so cut and removed the timber is part of the realty, and we have decided in a number of cases that real estate is not stock in trade and not properly included in an inventory.  *1147 ; ; . We think it clear that the standing timber of W. T. Carter and Bro., the partnership, was not a part of its stock in trade and was not property which it should properly include in its inventory.  We hold, therefore, that as to the taxable year 1923, taxable under the 1921 Act, petitioners are entitled to have the gains derived from the sale of standing timber computed under the capital gain provisions of the 1921 Revenue Act.  But this holding does not dispose of the taxable years 1924 and 1925, governed by the Revenue Acts of 1924 and 1926.  Both of these acts carry a provision which excludes, in addition to the exclusion carried in the 1921 Act, from the benefits of the capital gain provisions of the acts, property held by the taxpayer primarily for sale in the course of his trade or business.  This provision manifestly broadens the exclusions found in the 1921 Act, referred to above.  In construing the meaning of this provision the Board said, in *1148 : It may at once be admitted that real estate is not property to be included in the inventory.  We so held in , and *72 . As we see the problem presented by these proceedings, it is whether the real estate owned by the petitioner and sold partly during the taxable years and partly in prior taxable years constituted property held by the petitioner primarily for sale in the course of his trade or business.  What connotation is to be given to this language of the taxing acts as applied to the instant proceedings?  We think that it means that where a person is engaged in business and in the conduct of that business sells property which is held for sale in the business, such person may not claim the benefit of the capital gains provision of the statute.  The question here is whether the petitioner was engaged in a real estate business during the years 1924, 1925 and 1926.  We think that he was.  He was a member of a partnership which was actively engaged in a real estate business and which was selling and endeavoring to sell*1149  the property held by the petitioner.  Clearly, he was engaged in the real estate business in which the partnership was engaged.  But the evidence shows further that the petitioner had over a series of years subdivided different tracts of land and held the lots in such subdivisions for sale.  We think, indeed, that as an individual the petitioner was engaged within the meaning of the statute in a real estate business.  There can be no question that the real estate owned by the petitioner was property within the meaning of section 208(a)(8) of the Revenue Acts of 1924 and 1926 and that the property was held primarily for sale.  * * * Undoubtedly and timber which the partnership of W. T. Carter and Bro. cut into lumber during the taxable years and sold as lumber, would be, under the above cited case and other cases of the Board, excluded from the capital gain provisions of the law.  Petitioners do not contend otherwise.  The business of the partnership was to cut timber and manufacture it into lumber and sell such lumber at wholesale.  The lumber would be its "stock in trade," would be "property includable in its inventory," and would also be property "held primarily for sale." But*1150  we do not think we should hold, under the facts as they have been stipulated, that the standing timber of W. T. Carter and Bro. was property held by the partnership "primarily for sale in the course of its trade or business." We have already pointed out that its trade or business was that of a wholesale lumber manufacturer and dealer and we believe it is reasonable to say that the ordinary course of manufacturers and sellers of lumber at wholesale is not to sell their standing timber, but to cut it themselves and manufacture it into lumber and sell the lumber.  We hold that the standing timber owned by the partnership of W. T. Carter and Bro., and sold by it during the taxable years in the manner specified in the stipulation, was not property held by the partnership "primarily for sale in the course of its trade or business," and hence is not excluded from the capital gain provisions of the Revenue Acts of 1924 and 1926.  On this issue we hold for petitioners.  Reviewed by the Board.  Decision will be entered under Rule 50.STERNHAGEN and MATTHEWS dissent on the second point.  Footnotes1. Proceedings of the following petitioners are consolidated herewith: Mrs. Lena Carter Carroll; A. L. Carter; Mrs. A. L. Carter; Mrs. E. A. Carter; Mrs. Lillie N. Carter; W. T. Carter, Jr.; Frank Haywood Nelms; Mrs. Frank Haywood Nelms; R. D. Randolph; Mrs. Frankie Carter Randolph; Mrs. Jessie Carter Taylor; Judson L. Taylor; A. L. Carter, Administrator of the Estate of Maude H. Carter. ↩